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Exhibit D
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From: Luo, Cynthia

To: Ed Sivin

Cc: iller@sivinandmill - David Roct
Subject: Reese v. Williamson, et al., 22-cv-10494
Date: Wednesday, August 23, 2023 3:17:00 PM
Attachments: REESE-DEF 000016-000048.7ip

Reese - Def. Response to Plaintiff's Doc Requests.pdf

Counsel,
Please see attached.

Best,
Cynthia

S. Cynthia Luo (she/her) | Assistant Attorney General

Litigation Bureau | New York State Office of the Attorney General
28 Liberty Street | New York, New York 10005

Tel: (212) 416-8037 | cynthia luo@ag.ny.gov

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OFFICE OF THE ATTORNEY GENERAL

LETITIA JAMES DIVISION OF STATE COUNSEL
ATTORNEY GENERAL LITIGATION BUREAU

Writer’s Direct Dial: (212) 416-8037
August 23, 2023

Via Email

Edward Stvin, Esq.

Sivin, Miller & Roche LLP
20 Vesey Street, Suite 1400
New York, NY 10007
esivin@sivinandmiller.com

Re: Reese v. Williamson, et al.,22 Civ. 10494 (PMH)

Dear Mr. Sivin:

The following items are enclosed:

1) Defendants’ Response to Plaintiff's Interrogatories;

2) Defendants’ Response to Plaintiff's Request for The Production of Documents;
3) Files bearing the Bates numbers REESE-DEF 000016 — 000048;

4) HIPAA Release Authorization (to be completed and returned); and

5) Defendants’ draft Protective Order.

Regarding the HIPAA release authorization and draft protective order, please review and
return to me at your earliest convenience. Documents currently being withheld in anticipation of
those completed documents will be produced as soon as practicable after I am in receipt of the
authorization and executed protective order.

Please also let me know of Mr. Reese’s availability for a deposition during the week of
September 25.

Respectfully,

/s/ §. Cynthia Luo
S. Cynthia Luo
Assistant Attorney General
28 Liberty Street, 18" Floor
New York, NY 10005
(212) 416-8037
cynthia. luo@ag.ny.gov

28 Liberty Street, New York, New York 10005 e Tel.: (212) 416-8610 @ Fax: (212) 416-6075 (Not For Service of Papers)
http://www.ag.ny.gov
